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                              Exhibit A
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Survey II Accuracy & Accessibility Study
Interviewer Training Manual
CMS Call Center Monitoring

Prepared by Insight Policy Research and American Institutes for Research

January 2023
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1. Introduction
The Call Center Monitoring project is funded by the Centers for Medicare & Medicaid Services (CMS), a
federal agency of the U.S. Department of Health and Human Services. CMS collects information to
monitor the performance of Medicare Advantage Organizations (MAOs), Medicare Advantage
Prescription Drug Plans (MA-PDs), Prescription Drug Plans (PDPs), and Medicare-Medicaid Plans
(MMPs). CMS conducts two studies under this contract. The first
study, Survey I, is the Timeliness Study, which collects the average     Medicare Part C
hold time and disconnect rates for customer service lines operated by Also known as Medicare
plans for members enrolled in Part C and D Medicare, and the             Advantage. Medicare Part C is
pharmacy technical assistance help desks accessed by pharmacists         administered by private
                                                                         insurance companies
with questions about prescription drug coverage and payments. The
                                                                         contracted with Medicare.
second study, Survey II, is the Accuracy and Accessibility Study, which
                                                                         Medicare Part C covers
measures plans’ ability to answer calls from prospective members         everything that Original
(those who are interested in enrolling in Medicare Part C or D) and      Medicare (Part A and Part B)
provide accurate answers to specific questions about Part C health       covers and may cover extra
and Part D prescription drug plan benefits. Customer Service             benefits as well.
Representatives (CSRs) for both the Timeliness Study (hereafter called
Survey I) and the Accuracy and Accessibility Study (hereafter called     Medicare Part D
Survey II) must provide accurate, timely information to all callers,     Also called the Medicare
including non-English speaking and hearing-impaired individuals.         prescription drug benefit,
                                                                         Medicare Part D is an optional
In response to an Executive Order issued by President George Bush in     program to help Medicare
2006 that promoted transparency of healthcare quality and pricing        beneficiaries pay for
                                                                         prescription drugs.
data, and supported consumers’ right to make informed healthcare
                                                                         Beneficiaries pay a monthly
treatment decisions, CMS established performance measurement
                                                                         premium to an insurance
ratings for Medicare Part C and Part D plan sponsors. These ratings
                                                                         carrier and in return, use the
help prospective and current members make informed choices among         insurance carrier's network of
the many plan alternatives available to them under Medicare Parts C      pharmacies to purchase
and D. To enhance beneficiaries’ ability to compare different plans,     prescription medications.
CMS publicly displays performance metrics (star ratings) for each plan
on the Medicare website (www.medicare.gov). Two of the many star ratings measurements available
are derived from the results of Survey II. Additionally, CMS publicly posts the average hold time and
disconnect rates for each plan, which are measured by Survey I.

Organizations that provide Part C and/or Part D benefits, including those that provide integrated and
coordinated Medicare and Medicaid benefits for dual eligible beneficiaries, must meet certain standards
for providing information to current enrollees, pharmacies requesting technical assistance, and
prospective members. Part C and Part D customer services lines are answered by CSRs who must
provide accurate, timely information to all, including those who do not speak English and those who are
hearing or speech impaired. The call centers must have CSRs available for Part C and/or Part D inquiries




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from 8 a.m. to 8 p.m. local time, Monday through Friday, in all the service areas where the sponsor or
organization operates. Pharmacy technical help desks must be open during the same hours as the
pharmacies in the corresponding networks; if any pharmacy in the network is open 24 hours a day, the
pharmacy technical help desk must remain open 24 hours a day.


1.1       Purpose of the Evaluation
The purpose of the evaluation program is to provide information to CMS to ensure that organizations
contracted to provide Medicare services are meeting their obligation to answer each call from current
and prospective members in a timely manner and to provide the services and information required by
their contracts. The major goals of the program are to evaluate:

      x   Customer service phone line availability and responsiveness (measuring average hold times and
          disconnect rates);
      x   the availability of LEP (Limited English Proficiency) services, i.e., non-English language
          interpreters and TTY lines for the hearing or speech impaired; and
      x   the ability of CSRs to correctly answer a set of test Medicare information questions.


1.2       Overview of Survey II – Accuracy Study
Survey II targets the population of customer service centers
                                                                        Requirements for Survey II include
serving prospective enrollees. Survey II collects information on the
                                                                        the timely connection to a live
ability of call centers to provide accurate information in the native   customer service representative
language of the callers. The survey includes calls in English,          (CSR) and the ability to provide
Spanish, French, Vietnamese, Tagalog, Mandarin, and Cantonese,          correct answers to questions about
as well as TTY services for the hearing and speech impaired.            the plan’s coverage in the native
                                                                        language of the callers. Keys to
Several calls will be made to each phone line over a specified time     success for Survey II include the
period. During each call, not only will measurements be taken           CSR’s conferencing in an interpreter
regarding the time it takes to be connected to a CSR, but also the      (or use of a bilingual CSR) and
time spent waiting for an interpreter for the foreign language calls    utilizing their translations to provide
or for someone to respond back via TTY.                                 accurate information for the caller.
                                                                        In addition, TTY calls will assess the
Once a CSR is available, the AIR interviewer will ask 3 randomly        ability of a caller to obtain accurate
                                                                        information via TTY.
assigned questions about enrolling in Medicare and the benefits
provided by their plan. AIR will provide CMS with the data about the accuracy of the CSR’s answers to
these questions.

1.3       Instrument Structure
For Survey II, AIR interviewers will be placing calls to determine the average service level across different
time slots and days of the week. Interviewers will ask an introductory question, for example “Are you the
right person to answer questions about [Plan name]’s health benefits?” If yes, the three additional




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questions will be randomly selected from a group of 20 for Part C and Part D for non- Special Needs Plans.
See Section 10 for more information on Special needs Plans (SNPs).

The survey is being conducted in seven different languages – Cantonese, English, French, Mandarin,
Spanish, Tagalog, and Vietnamese, as well as TTY. When you first log into the instrument, you will either
be presented with an English, or Foreign Language Call. If you are a TTY interviewer, you will log into a
separate module to conduct TTY calls. TTY and Foreign Language calls are delivered only to interviewers
assigned to that specific role.


1.4      Who Is Being Evaluated?
Survey II will be evaluating the customer service representatives (CSRs) of call centers that serve
prospective enrollees.

1.5      Anticipated Results of the Survey
We anticipate that every call will connect to a plan’s customer service line and yield useful data. CSRs
should not refuse to answer the question or be uncooperative in any way. If you encounter an
unprofessional CSR who is not willing to answer questions, indicate that the CSR was unprofessional and
record exactly what happened on the call in the outcome screens provided in Voxco at the end of the
call. More details are provided on how to note this later in this manual.


1.6      Your Responsibilities as an Interviewer
As an interviewer, you are a program evaluator and crucial to successful data collection, production, and
schedule goals. The primary challenge to a successful data collection period is the scheduling and
completion of the large volume of calls. Your primary responsibility is to work a consistent and reliable
schedule, as agreed upon with the Data Collection Team Leads and Production Coordinators. Missing
one shift can contribute to the project not meeting its goals.

Your other primary responsibility is to collect accurate data on the timing of each call process. During
training, you will learn AIR’s Voxco data collection system, practice navigating IVRs, and practice
accurate collection of timing data.


      INTERVIEWER RESPONSIBILITIES
         x   Attend and successfully complete the initial training session and certification process.
         x   Commit your time and effort for the duration of the project and report for work as scheduled.
         x   Follow prescribed procedures to attempt to complete all necessary work on each call.
         x   Observe all quality control procedures and meet established performance standards.
         x   Accurately complete daily time reports and other administrative records as required by Survey
             Center procedures.




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2. Getting Started
The survey is housed in AIR’s Voxco system and accessed through a remote desktop connection. Cases
are delivered to the Voxco system through a call scheduler. Once a case is initiated by the interviewer,
the system’s auto dialer automatically dials the plan’s call center. Each case must be called at the time
the Voxco system prompts the call. Never exit a case without completing the call and addressing all
required fields.


2.1       Initiating a Case
After successfully connecting to the auto dialer, you are taken to the Virtual Call Center Dashboard,
shown in Exhibit 1. From this screen, select New Call to access a case.

Note: In the left column, your interviewer status shows as Idle until you dial a case.

Exhibit 1. Virtual Call Center Dashboard




2.2       Call Status
There are three call connection statuses: Idle, Connected, and Wrap Up.

      1. Idle: In the left column, your status shows as Idle until you dial a case (Exhibit 2).

          Exhibit 2. Idle Status




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    2. Connected: In the left column, your status shows as Connected if your call is actively connected
       (Exhibit 3).
        Exhibit 3. Connected Status




    3. Wrap Up: In the left column, your status shows as Wrap Up when your call has disconnected for
       any reason (Exhibit 4).

        Exhibit 4: Wrap Up Status




In addition, Voxco shows pop-up messages when a call is terminated.




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      1. The message below (Exhibit 5) pops-up when the called person ends the call. This could be due
         to either an unexpected disconnect or a CSR hanging up the phone. The difference between the
         two is explained later in this manual.

          Exhibit 5. Warning – Termination Cause: The called person hung up




      2. The message below (Exhibit 6) pops-up when the auto dialer disconnects for any reason, such as
         hanging up the physical phone instead of using the hang up button in Voxco, cell service going
         out during the call, etc. If you see this message, DO NOT code the current case. Call and speak to
         a Team Lead or Production Coordinator right away for further instructions.
          Exhibit 6. Warning – The Phone connection has been disconnected




      3. The message below (Exhibit 7) pops-up if the auto dialer is disconnected and you try to dial a
         case. If you see this message, DO NOT proceed with the case. Call and speak to a Team Lead or
         Production Coordinator right away for further instructions.

          Exhibit 7. Warning – Dialing: Command has failed




2.3       Voxco Headers and Screen Navigation
Each Voxco screen is labeled with a name in ALL CAPS on the left side beneath the Navigate label. For




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example, in Exhibit 8 below, the screen name is DIAL1. Identifying the screen name makes it easier to
communicate issues and questions with a Team Lead/Production Coordinator. Using Exhibit 8 below as
an example, you would say, “For Case ID D1000224, I ran into the following issue on the DIAL 1
screen..." We will also refer to these screen names throughout this manual to help you follow along with
the correct images.

Exhibit 8. SI Header in Voxco




The Voxco system provides a blue header (see Exhibit 8) on every screen that includes important case
information. Always review this information before initiating the call as it affects the IVR choices you
must make once connected. In Survey II, there are 5 types of cases:

    1.   Part C: Medicare enrollee health benefits
    2.   Part D: Medicare enrollee prescription drug benefits
    3.   MMP Part C: Medicare and Medicaid enrollee health benefits
    4.   MMP Part D: Medicare and Medicaid enrollee prescription drug benefits
    5.   Special Needs Plans (Part C and D)

In addition to case type, the header will include other important information for each plan that
you may need to reference during the call, including:
    x    Case ID: Required to provide this when reporting an issue with a case.
             o The case ID will begin with a C for Part C calls and D for Part D calls.
    x    Plan Name: Complete plan name, to be used for clarification if the CSR is confused by the plan
         marketing name.
    x    Contract Name: This is the contract under which the plan resides. This information may be
         needed for the IVR or CSR.
    x    County, state, ZIP code: To provide to CSR or IVR when asked.




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      x   Phone: Telephone number dialed for this case.
      x   System ID: Internal case identification number to reference to Team Lead/Production
          Coordinator to discuss any issues or problems in addition to the case ID.
      x   TTY Phone: Phone number to call when first dialing a TTY case ONLY.


Click on 01 ENTER 01 to continue and then click the Next button at the bottom of the screen to
continue.

While unlikely at this early stage, click on 02 “Case do-over” if you have knowingly made a mistake
that could negatively impact the call center. Choose this option so that the call can be reset and
attempted again.
2.4       Initiating a Call
After you review the call information in the header, click on (01) ENTER 01 to continue, and then click
the Next button at the bottom of the screen to prompt the auto dialer to dial the plan and initiate the
call.


2.5       Coding the Initial Call Outcome
You will now see the ANSWERED screen (Exhibit 9). This screen is the same for all English and LEP calls.
This screen records to where you connected when you reached the call center, or what happened if you
did not connect.

Exhibit 9. ANSWERED Screen




You must select from the following options to describe the initial call outcome, Who answered the
phone?:

          (01) Answered by IVR: The phone was answered by the targeted call center IVR system. The IVR
          system usually presents you with a list of options from which to select. You must listen carefully
          to all options to make sure you select the correct one.
          (02) Answered by Live Person: The phone was immediately answered by a live CSR. Indicates
          you reached the targeted call center.




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        (03) Placed Directly into Hold Queue: The phone was answered by an automated system, but
        you are immediately told to hold for the next available representative (as opposed to giving
        options, like in an IVR). Sometimes you may not be told you are on hold, but instead may hear
        hold music begin to play or a commercial with health information.
        (04) Busy signal/“all circuits busy:” You hear a regular or fast busy signal, or “all circuits busy”
        message. Voxco may also show a pop up message stating “The called party is busy” or
        something similar.
        (05) Did not connect to a plan/bad phone: You did not connect to the call center. Examples
        include a person answering and saying, “Hello, Ed’s Restaurant,” the phone rings and goes dead
        before 6 rings, you hear a not-in-service message, etc.
        (06) Ring, no answer after 6 rings: The phone rang six times and was not answered.
        (07) Case do over: If you knowingly make a mistake, choose this option to reset the case so the
        call is reattempted.

If your first call results in options 4, 5, or 6, once you end the call, the system and auto dialer will
automatically prompt you to reattempt the call. The steps for this process are detailed in Section 3. If
the second call results in the same issue, code accordingly and close out the case.

All numbers called for this study should be toll-free numbers (beginning with 800, 888, 877, 866, 855,
844, and 833). If you encounter a number that is not toll-free, please write down the case ID and the
telephone number and give it to your Team Lead or Production Coordinator. Do not make the call.


3. Call Reattempts
When first dialing on the ANSWERED screen, if the call is coded as options 4, 5, or 6 (above), you will be
prompted to reattempt the call after making your selection.

When you reattempt the call, a screen will let you know that the call has been ended, shown in Exhibit
12 below.




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Exhibit 12. BADPHONE_HU screen




After you click Next, you will return to the DIAL1 screen and see a bolded, blue note on the left-hand
side that says, “This is the second attempt for this record. ENTER 01 and press [Enter] to continue.”

When you reattempt the call, a bolded, blue note appears on the left-hand side of the DIAL1 screen that
says, “This is the second attempt for this record. Check (01) ENTER 01 to continue and press [Enter] to
continue.”

For first calls resulting in no connection (silence, no ring, less than 6 rings and line goes silent and/or
disconnects, Voxco indicates the call status is still “Idle”) or static on the line (loud static to the point
where you cannot determine if you reached an IVR, hold queue, or live person), before you make the
second call attempt, you must speak to a Team Lead/Production Coordinator to ask that a hand dial
attempt be made.


     HAND-DIAL ATTEMPT PROCESS
        x   Before you make the second call attempt, you must speak to a Team Lead/Production
            Coordinator to ask that a hand dial attempt be made.
        x   The Team Lead/Production Coordinator will test the number outside of Voxco to see if the
            number works (hand-dial).
        x   If the Team Lead/Production Coordinator confirms that the number is working, you will then
            make your second attempt in the case using the auto dialer.
        x   If the Team Lead/Production Coordinator confirms that the number is not working, you will still
            make your second attempt using the auto dialer.
        x   If the number does not work on your second attempt, choose option (05) Did not connect to a
            plan/bad phone.
                 o Mark 06 - Hand dialed second attempt on the PHONE_ISSUES screen.




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                  o   Mark 11 – I want to note an additional issue and leave a note detailing the steps you
                      took and the result of each attempt.




3.1       Coding Outcomes for Call Reattempts
If you are not able to connect with a CSR after reattempting the call, you will be routed to the
REG_HANGUP screen, shown in Exhibit 10 below.

Exhibit 10. REG_HANGUP Screen




Busy signal/“all circuits busy:” For calls resulting in a busy signal/“all circuits busy” message, you will
pick from the options on the PHONE_BUSY screen, shown in Exhibit 11 below.

Exhibit 11. PHONE_BUSY




As the screen above shows, you will be asked to pick the scenario that best describes what happened,
with the following options:

      (01) Busy signal x2: Heard a busy signal on both attempts of the call.
      (02) Message that said “all circuits are busy, please try your call again later,” etc. x2: Heard a busy
      message on both attempts of the call.
      (03) Something else (please describe): Something other than the options provided happened.
      Provide a clear and detailed note in the text box.



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Did not connect to a plan/bad phone: For calls that reach a bad phone number or when you are
otherwise unable to connect to the plan, the screen will prompt you to select options on the
PHONE_DNC screen, shown in Exhibit 12 below.

Exhibit 12. PHONE_DNC




As the screen above shows, you will be asked to pick the scenario that best describes what happened,
with the following options:

     (01) No connection when dialing the plan: After initiating one attempt of the call, you were unable
     to connect to the plan, did not hear a ring, and the call never showed as connected. On the second
     attempt of the call, you asked a Team Lead/Production Coordinator to complete a hand dial
     attempt. If the number did not work for the Team Lead/Production Coordinator, then you choose
     this option again. Mark Hand dialed second attempt on the PHONE_ISSUES screen.
     (02) Static on the phone line; could not complete call: Extreme static on the phone line prevented
     completion of the call twice in a row. On the second attempt of the call, you must ask a Team
     Lead/Production Coordinator to hand dial the number to see if it is working. If the number is not
     working for the Team Lead, you will choose this option again on the second attempt. Mark Hand
     dialed second attempt on the PHONE_ISSUES screen. Note: This rarely happens and is usually due
     to extreme weather.
     (03) Recording indicated call cannot be completed at this time: Reached a recording twice that said
     the call cannot be completed at this time, please try your call again later. Note: you do not need to
     call a Team Lead or a Production Coordinator for a hand dial attempt for this issue.
     (04) Recording stated this number is no longer in service: Reached a recording twice that said the
     call cannot be completed as dialed or the number is no longer in service. Note: you do not need to
     call a Team Lead or a Production Coordinator for a hand dial attempt for this issue.
     (05) Something else (please describe): Something other than the options provided happened.
     Provide a clear and detailed note in the text box. Note: you do not need to call a Team Lead or a
     Production Coordinator for a hand dial attempt for this issue.




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4. Answered by IVR
When you are routed to an IVR system, you must record every action taken in the IVR. Each IVR is
different. In order to advance, you will use either verbal commands or enter options using your phone’s
keypad. Each selection must be documented in the Voxco system’s IVR decision tree (see the numbered
lines with blank text boxes in Exhibit 13). On the IVR1 screen, you enter one action per line, using the
Commonly Used Abbreviations provided on the screen when appropriate. Once your IVR selection
moves you out of the IVR, indicate where you are sent by scrolling to the bottom of the Voxco screen
and choosing from the option with radio (circle) buttons (see red arrow in Exhibit 13 below). There is a
600-second (i.e., 10-minute) time limit for the IVR tree. Once the time limit is reached, you are directed
to the end of the case.

Exhibit 13. IVR1 Screen




In most cases, when a call is answered, IVR menu options are provided to help direct you to the proper
individual. The IVR screen in Exhibit 13 has three sections:

Section 1: A timer in the top left-hand corner counts to 600 seconds (i.e., 10 minutes), the maximum
amount of time you can spend in the IVR screen. When you reach this time limit, the Voxco system
automatically times out and ends the case.




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Section 2: The twelve boxes on the left-hand side of the screen are provided for you to document the
selection you make while in the IVR. When you are prompted to choose an option in the IVR (i.e., “Press
1 for English, press 2 for Spanish”), enter whatever option you choose in these boxes. Enter one action
per line, using the provided abbreviations when possible. If you run out of lines, continue noting your
options in the last line and separate them by a comma (e.g., N, IDHI, PH).

Any selection you make must be: 1.) pressed or spoken on the telephone; and 2.) documented in the
Voxco screen. The project team uses the documented IVR selections from this screen to recreate your
experience if there are questions from the plan or CMS about the call process.

When the IVR system asks for information, for example, “What is your date of birth?” or “What is your
member number?” say “I don’t have it (IDHI)” a maximum of two times, then stay silent. Note: Only
record choices that you selected in the IVR. You do not need to record that you stayed silent or that
there were no options for you to pick.

When the IVR system asks you an open-ended question, such as “How can I help you today?,” you will
say “Customer service representative.” Usually, the IVR will say something such as “I know you would
like to speak to someone, but to better serve you…” and either ask you to specify what you are calling
about or repeat “How can I help you today?” Repeat “Customer service representative.” Please keep in
mind that you can say this to an open-ended question only two times. If the IVR repeats the question a
third time, just stay silent.

Section 3: At the bottom of the screen, there are four options to document where the IVR system sends
you once you complete the decision tree. Select one from the following options, and then press the Next
button at the bottom of the screen:

     x   Sent to HOLD Queue: Recording says, “Please hold for the next customer service
         representative,” or "one moment;" instructed by a live person to hold, wait, stay, or remain on
         the line; hear music or advertisements; or hear silence on the line but have not been
         disconnected.
     x   Got LIVE Person: Connected to a live CSR.
     x   Call terminated: Call is ended or somehow disconnected.
     x   Case do over: If you knowingly make a mistake that could negatively impact the plan’s call
         center (such as making an incorrect selection in the IVR), choose this option to reset the case so
         the call is reattempted.

Mark all selections you dial or speak in the IVR in the numbered text boxes. Note: Commonly used
abbreviations are provided in the box to the right of the text boxes.




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You must scroll down to the bottom of the IVR1 screen to make a selection about where you are
transferred after leaving the IVR1 screen–you are not able to move to the next screen without making a
selection (see red arrow in Exhibit 13).


4.1     Identifying Appropriate IVR Options
There are as many different IVRs as there are call centers, so it is impossible to train interviewers on which
exact options to choose for every system. However, the goal of each call is the same, to reach a CSR, so a
consistent strategy is useful. The strategy outlined below will help ensure that the best options are chosen
in each IVR.

English Calls:
Navigate the IVR as if you are the child of a prospective member who is seeking information about
enrolling in Medicare Part C and Part D programs. Listen for and choose options for people interested in
enrolling in the plan. If you continue to the LIVE screen and you are transferred again, you must continue
to wait on that screen until you are connected to a CSR who can answer your questions. All the screens
have timers, and any wait is recorded. Possible examples of options include: if you are a prospective
member, if you are not a member but would like more information about the plan, or if you have Medicare
and are interested in our plans or Medicare Advantage plans.

Foreign Language (LEP) Calls:
When making calls in a foreign language, you must act as if you do not understand the instructions
when they are given in English. If instructions are given in your language, then you are allowed to make
the correct selection. For example, if the IVR tells you IN SPANISH to press “2” for Spanish, then you can
make the selection. But if the IVR says in English to press “2” for an interpreter, then do not make the
selection. Never make any selections that are given in English when calling in a foreign language.

Determining if you are placed on hold:
It is important to listen carefully to determine when you are placed on hold. In some cases, you might
hear “Please hold for the next available CSR.” But in most cases, after listening to all of the options, you
may hear music or advertisements on the phone. These are signs that you are in a hold queue. Once
you believe you have been sent to the hold queue, select the Sent to HOLD Queue radio button and then
click on the Next button at the bottom of the screen.

Calls with Spanish IVRs:
Sometimes, you will reach an IVR that speaks in Spanish. This is usually the case for calls to Puerto Rico,
but other plans may also have IVRs that start off in Spanish. If you are an English interviewer, make sure
to select any options for English. If you are an LEP interviewer who does not speak Spanish, remain
silent. If IVR only has options in Spanish and the language is English or another language that is not
Spanish, then you will type “Spanish only IVR” in the first IVR box.




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5. Sent to Hold Queue
The HOLD screen, shown below in Exhibit 14, is simply the place you sit while waiting for a CSR to
answer your call. As with the IVR screen, there is a timer in the top left-hand corner. You will sit on hold
for a maximum of 600 seconds (i.e., 10 minutes) and the timer will count up from 1 to 600.

Exhibit 14. HOLD SCREEN




Once you are no longer on hold, you will pick one of the options in the screen above (Exhibit 14),
detailed below, that best matches the next step you encounter. Then, you will press the Next button at
the bottom of the screen.

     x   LIVE Person: The phone was answered by a live CSR. Indicates you reached the targeted call
         center.
     x   Sent to IVR: The phone was answered by the targeted call center IVR system. The Voxco system
         will take you back to the IVR screen previously seen. The IVR system will usually present you
         with a list of options from which to select. You must listen carefully to make the correct
         selection. If you finish making selections and need to document more notes, start with the first
         blank box underneath the last documented selection.
              o If you have to switch back and forth between the IVR and the hold queue, the timers will
                  start from where they left off while you were on that screen (i.e., if you were waiting
                  three minutes (180 seconds) in the IVR, then you are sent to the hold queue for one
                  minute (60 seconds), and then you start hearing options and click “Sent to IVR,” the
                  timer will resume from 180 seconds).
              o If you need to go back to the IVR from a hold queue in order to select more options,
                  make sure you indicate that in the text box by typing “– from hold.” For example, if you
                  are in the hold queue and a recording says, “If you would like to receive a callback, press
                  1. To remain on the line for a representative, press 2,” you will select “Sent to IVR,”
                  press 2 on your phone, and then, in the next available blank space, type “2 – from hold.”
     x   Call terminated: Call is ended or somehow disconnected.




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     x   Case do over: If you knowingly make a mistake that could negatively impact the plan’s call
         center, choose this option to reset the case so the call is reattempted.

Note: If you wait 600 seconds in either the IVR or HOLD screens, the case will automatically close, the
TIMEOUT screen will appear and the call is considered complete. You will then be directed to the
PHONE_ISSUES screen, where you will leave a note detailing the results before exiting the case.

Additional Options while on Hold:
Sometimes, after you make choices in the IVR, and are put in a hold queue (and are on the HOLD
screen), the plan’s system may offer you additional options. When options are offered, but you are not
required to make a selection, you simply stay silent and remain on hold. If the system offers you the
option to enter information such as your member ID, date of birth, Social Security number, etc. you
remain silent. Furthermore, you should never participate in a survey.

1. Example scenario: “Press 1 to enter your member ID for faster service, or remain on the line for the
   next available agent”. Direction: You should remain silent.
2. Example scenario: “If you would like to participate in a customer satisfaction survey at the end of
   this call, press 1 or say ‘yes.’”
   Direction: You should remain silent.

Sometimes, after making choices in the IVR, you are put in a hold queue (and you are on the HOLD
screen), and the system requires that you make a choice in order to continue the call. If you have to
document a choice, you will move to the IVR screen and write down the choice you made followed by “-
from hold.”

3. Example scenario: “We are experiencing higher than normal call volumes, press 1 to stay on hold,
   press 2 to leave a call back number and someone will call you back.”
   Direction: Press 1 to stay on hold (never leave a call back number); then document your choice on
   the IVR screen “1 - from hold.”
4. Example scenario: “To improve our customer service we would like you to participate in a customer
   satisfaction survey at the end of this call. Press 1 or say ‘yes’ to participate, press 2 or say ‘no’ if you
   prefer not to participate.”
   Direction: Press 2 or say no (never participate in a survey); then document your choice on the IVR
   screen “2 – from hold” or “No – from hold.”


6. Answered by a Live Person
Once a live CSR answers the phone, you ask the opening question verbatim, meaning you read it exactly
as it is written, presented on the LIVE screen (Exhibit 15 & 16).




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Exhibit 15. LIVE English Screen




Depending on the type of plan you called, there are four possible questions:

     1. Medicare Part C (enrollee health benefits):
        Are you the right person to answer questions about [Plan name]’s health benefits?
        INTERVIEWER NOTE [If CSR asks, this is Medicare Part C benefits. The Plan name is available in
        the header to provide to the CSR if needed.]
     2. Medicare Part D (enrollee prescription drug benefits):
        Are you the right person to answer questions about [Plan name]’s prescription drug benefits?
        INTERVIEWER NOTE [If CSR asks, this is Medicare Part D benefits. The Plan name is available in
        the header to provide to the CSR if needed.]
     3. Medicare-Medicaid Part C (enrollee health benefits for beneficiaries enrolled in both
        Medicare and Medicaid):
        Are you the right person to answer questions about [Plan name]’s health benefits?
        INTERVIEWER NOTE [If CSR asks, this is Medicare-Medicaid health benefits. The Plan name is
        available in the header to provide to the CSR if needed.]
     4. Medicare-Medicaid Part D (enrollee prescription drug benefits for beneficiaries enrolled in
        both Medicare and Medicaid):




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        Are you the right person to answer questions about [Plan name]’s prescription drug benefits?
        INTERVIEWER NOTE [If CSR asks, this is Medicare-Medicaid prescription drug benefits. The Plan
        name is available in the header to provide to the CSR if needed.]
Once you reach a live CSR and advance to the LIVE screen, you ask the question verbatim, meaning you
read the question exactly as it is written to the CSR. You must wait for a CSR to answer the question
above. If the CSR cannot answer your question and puts you on hold or sends you back to an IVR, you
wait on the LIVE screen until you are connected to a new live CSR, the call terminates, or the call times
out. You will have 420 seconds (i.e., 7 minutes) to receive an answer to the question from the CSR.

Two answer types are presented on the LIVE screen. Checking the appropriate radio (circle) button
allows you to advance to the next screen. The check box (square) options allow you to document when
you are put on hold, sent to IVR, or transferred to another department or CSR while you wait to connect
to a new live CSR. Note: The check box (square) options are for documentation purposes only. DO NOT
click Next after you select these boxes.

FOR FOREIGN LANGUAGE CALLS ONLY: When calling in a foreign language, you should only speak that
language. The CSR will answer the call in English. In order to be routed to an interpreter, you will follow
the instructions presented in blue at the top of the LIVE screen. For example, Exhibit 16 presents a
Spanish call and the instructions read “Interviewer: You can only speak Spanish from this point forward.
However, you can use the following English phrases to ask a CSR for an Interpreter in your language: No
English, Spanish, I need Spanish, Yes/No” (see languages outlined in red). You must only use these
phrases and wait for the CSR to connect an interpreter to translate the questions. Once the appropriate
language interpreter has joined the call, you will then ask the opening questions in the language it is
presented in. All questions must be asked verbatim, meaning you must say the question exactly as it is
written on the screen. See text underlined in red in Exhibit 16. Sometimes, a CSR may answer the line
who speaks your language. If that happens, then you can speak directly to that CSR and do not need
them to get an interpreter on the line.

Scenario 1: The CSR asks you follow-up questions. You should say “No English, (your language)”. If the
CSR says “You need (your language)?”, then you can say “Yes, (your language).”

Scenario 2: The CSR makes a request such as “Can I place you on hold?”, “Can I have your telephone
number in case we’re disconnected?”,etc. Do not say “yes.” You should simply say, “No English, (your
language), I need (your language)”. Do not respond to the CSR in any way that makes it seem like you
understood their requests.



Scenario 3: The CSR doesn’t understand what language you’re asking for and asks you to spell the name
of the language. Do not spell the language, just repeat, “No English, (your language)”.

FOR ENGLISH CALLS TO PUERTO RICO/CALLS WITH SPANISH IVRs: When you are calling plans in Puerto
Rico or some plans in the US, you may reach a CSR who comes on the line and introduces the call in




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Spanish. For these calls, it is okay to say, “English please” or “I need English” on an English call, and for
languages other than Spanish, you can use the English phrases outlined in red in Exhibit 16. The CSR will
then either switch over to speaking English or he or she will transfer the call to another CSR who speaks
English. Make sure to document in the “Transfer to HOLD queue” and/or “Other” boxes if a CSR has to
put you on hold and/or transfer you to another CSR.

Exhibit 16. LIVE Screen for LEP calls




Radio Button Options
You are not able to leave the LIVE screen unless you select one of the following three answers with radio
buttons and click Next:

     x   Yes: Person gives a clear “yes” or “I think so,” or otherwise gives you an answer that sounds like
         a “yes.” (Absolutely, sure, I can help you with those questions, etc.) Note: If the first CSR
         transfers you to a second CSR, wait until the second CSR says “yes” before choosing this answer.
     x   Anything other than yes (“No,” “All CSRs are busy, but I can have them call you back;” etc.):
         Person says “no” or otherwise gives you an answer that is not yes, CSR hangs up, or there is an
         unexpected disconnect.
     x   Case do over: If you knowingly make a mistake that could negatively impact the plan’s call
         center, choose this option to reset the case so the call is reattempted.




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Check Box Options
If a CSR cannot answer your question and transfers you back to an IVR tree, a hold queue, or to another
CSR, do not click any of the three radio buttons mentioned above. Instead, click the square button that
pertains to your situation and wait to connect to a new live CSR:

     x   Transfer to IVR: CSR transfers you to the IVR tree without answering the question. Enter all IVR
         response options you choose in order to advance to a live CSR in the open text box.
     x   Transfer to HOLD queue (“one moment;” instructed to hold, wait, stay, or remain on the
         line/hear music or advertisements): Note any instances where you are put on hold while on the
         LIVE Screen.
     x   Other: Anything that does not fall into any other category. If a CSR needs to transfer you to
         another CSR, you will note this here. Provide clear notes in the text box. (Example note: “Person
         who answered said I reached the wrong department and is transferring me to member
         services.”)

NOTE: In some instances, you may go back to the IVR and HOLD queues multiple times while
on the LIVE screen. This is allowable. However, the call to the plan will be timed out if you do
not get an answer from a live CSR within 420 or 480 seconds for the first question (depending
on English, TTY or Foreign Language calls) of when you first arrived at the screen.

At this point several things might occur:
     1. The CSR says yes.
        a. Once confirmed, click yes and then click Next. If this is a Part C, Part D, Part C MMP, or Part
           D MMP, you will have three follow up or accuracy questions to ask. If this is an SNP case,
           then you will have a script to read verbatim. For foreign language and TTY calls, you may
           also experience an unprofessional interpreter or TTY operator. These issues should also be
           documented as well. This is important information that we will report to the client.
     2. The CSR may ask you for a member number or additional information from you.
        a. Remind the CSR you are calling to get information for your mother who is interested in the
           plan. She is not a current member. Tell the CSR that before you can provide the additional
           information you need to know if they are able to answer the question. If the CSR insists on
           the additional information, terminate the call. Remember to leave a call note that state the
           call was terminated by the interviewer and what information the CSR insisted on having.
     3. The CSR may need to transfer you to another agent.
        a. Accept the transfer and record where you were sent in the “Other” text box. Make sure to
           stay on the LIVE screen until either a new CSR comes to the phone, the call disconnects, or
           the call times out. If a new CSR comes to the phone, ask the question again verbatim and
           record their response. NOTE: We cannot request transfers, but we should accept them if
           they are offered.
        b. An interviewer note is provided in bolded blue text as a reminder that if a CSR offers you a
           transfer, you should stay on the LIVE screen. Do not click “Anything other than yes” yet and




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           wait on the line. The only exception to the transfer procedure is described later on in this
           manual.
        c. If the CSR says you reached the wrong department but does not offer to transfer you and
           instead gives you a phone number to call, write down the number given and choose option
           2 (anything other than yes). You will have an opportunity to record the number in the next
           screens.
        d. If a CSR asks you for additional information after offering to transfer you, such as a member
           number or telephone number, say to the CSR, “Is it possible to transfer me without
           providing that information?” You can also add, “I just have general questions” if needed. If
           the CSR insists on the additional information and will not transfer you without it, politely
           end the call by telling the CSR that you will just call back or you will call back with that
           information. Remember to leave a call note explaining the information that the CSR needed.
     4. The CSR says they are not able to answer questions.
        a. If the CSR says clearly says they cannot answer questions about the plan and doesn’t offer to
           find someone that can, choose the option Anything other than yes, and select the reason
           they gave you on the next screen.
     5. The call is terminated.
        b. Indicate why the call was terminated on the next screen.

NOTE FOR FOREIGN LANGUAGE CALLS: Most of the time, when you reach a live CSR and say your
language, the CSR will know to find an interpreter. At this point, you will be put on hold while the CSR
conferences in an interpreter to assist with the call. Mark Transferred to HOLD queue on the screen and
note “Put on hold while CSR finds interpreter.”


7. Accuracy Questions

Once the CSR says “yes” they are able to answer questions about Medicare, they will be asked up to 3
questions related to the type of health plan we are asking about. Examples of these accuracy question
screens can be found in Exhibit 17 (English) and Exhibit 18 (LEP—Spanish). NOTE: Never preselect an
option before the CSR provides the answer.




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Exhibit 17. English Accuracy Question Screen




Exhibit 18. LEP Accuracy Question Screen – Spanish




NOTE: Text that is in bold and blue should not be read aloud. This information is provided to (a) help you
better understand the purpose of the question and (b) help clarify situations where the CSR does not
answer the exact question. For example, in the question above, if the CSR answered, “The generic version
of Xanax is covered,” you can follow up with “I want to know if the brand name, not the generic version,
is covered.” This information will always be presented in English. If you are making an LEP call, even if
the additional information is presented in English, you should say the information in the language in
which you are making the call.

Pick from the following options to best represent the answer given by the CSR:
    x Correct: Only if the entire answer is correct.




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             o     The answer may be different for different plans, so check the actual answer under the
                   question on the screen before deciding whether it is correct or incorrect.
     x   Incorrect: Provide a detailed note of the incorrect answer the CSR provided.
              o It is important to pay close attention to the CSR’s answer. Example: A question may ask
                   “Does my mom have to pay for a flu shot?” and the correct answer may be “no”. If the
                   CSR says, “The flu shot is covered at 100%”, that may be the same as saying “no”.
              o If you are confused about whether a CSR answered correctly, you want to clarify by
                   probing once and asking a follow up question such as, “Okay, does that mean she’ll have
                   to pay for the flu shot?” or something similar. Then, pay attention to the CSR’s response.
              o If a CSR answers part of a question incorrectly, then the whole answer should be marked
                   as incorrect. In your note, describe which part of the question they answered correctly
                   and which part they answered incorrectly.
              o Sometimes, CSRs may provide a vague response that may not necessarily answer the
                   question. You want to probe and ask for clarification. Example: If the answer is yes or no,
                   you can ask, “Is that a yes or a no?/Are you saying yes or are you saying no?”
              o While typing your note about the incorrect answer, it is okay to say to the CSR in English
                   or your language via interpreter, “I just need to write this down for my mother, one
                   moment please”. Once you are finished typing your note, click Next to move to the next
                   screen.
     x   CSR does not know: If the CSR tells you they do not have an answer.
     x   Call terminated (CSR hang up, unexpected disconnect, CSR would not answer questions without
         eligibility information, CSR unable to transfer call to more knowledgeable CSR, CSR does not
         recognize plan, etc.): You will be prompted to give more detailed notes about why the call was
         terminated on future screens. (Call status on the left-hand side of the screen will show “Wrap
         Up”.)
              o CSR hang up: this is when you hear the CSR hang up the phone or the CSR states, “I’m
                   ending this call now” or “I’m going to hang up”. Please note any unprofessional behavior.
              o Unexpected disconnect: The CSR may be in the middle of speaking and then you hear
                   silence, or they put you on hold and then the line goes silent. Always check in the upper
                   left-hand corner to see if the icon says “Connected” or “Wrap up”. If you see “Wrap up”,
                   then this means that there was an unexpected disconnect on the CSR’s end. Go ahead
                   and code “Call terminated” and then “unexpected disconnect”.
              o CSR would not answer questions without eligibility information: you may start a survey
                   and the CSR may ask you for information such as a member ID, date of birth, SSN, your
                   mother’s age, etc. We want to reiterate that she is not a member and we’re just calling
                   for information. However, if the CSR keeps insisting and won’t proceed with any more
                   questions until we give them that information, then politely end the call by saying, “I’ll
                   just call back” or “I’ll call back with that information, thank you”.
              o CSR unable to transfer call to more knowledgeable CSR: A CSR may start answering the
                   questions, but you might ask a question to which they don’t know the answer. The CSR
                   may try to transfer you, but if they can’t transfer the call for any reason and they also
                   can’t continue to answer the questions, then you can end the call politely and use this
                   code.




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            o   CSR does not recognize plan: CSRs may say yes to the introduction question but after
                asking one or more accuracy questions, they may say the following: “I’m sorry, I’m not
                familiar with this plan at all” or “These questions are about Medicare, I can only answer
                questions about Medicaid”, etc. If the CSR does not recognize the plan, then you can
                politely end the call.
            o   Case do-over: If you have knowingly made a mistake that could negatively impact the call
                center, choose this option so that the call can be reset and attempted again.

NOTE: If you have any questions about these codes, please speak to a Team Lead or Production
Coordinator. It is important to code these outcomes in a timely manner because the timers are still running
in the cases. Once you have determined the correct outcome, code the case in a timely and efficient
manner. Too long of a delay may result in an incorrect time stamp or may cause the case to time out,
leading to an incorrect outcome. A case do-over may be required.


8. Ending a Successful Call
If the CSR can answer the accuracy questions, after the third question, you will move to the THANK
screen (Exhibit 19). For all non-SNP calls, you will pleasantly end the call in English or your language. For
SNP calls, you will just ask the opening question and on the THANK screen, you will have the script that
reads, “Thank you, this has been a test call on behalf of the Centers for Medicare and Medicaid
Services.” This is one of two scenarios where you will tell the CSR that this has been a test call. The other
scenario is when the call times out, which is detailed in Section 10.

Exhibit 19. THANK Screen




If you need to end the call with the CSR because of unprofessional behavior, you may use the Hang Up
button on the left-hand side of the screen to hang up the call. A pop-up box will appear asking you to
confirm that you want to hang up. Click OK to hang up the call.

If the CSR asks you “Were you satisfied with my services today?” you should not respond to their
question as this is providing feedback on their work (similar to a survey). Instead, simply end the call by
saying “thank you, have a nice day” and use the hang up button to end the call, if needed.

You then mark one of the following:

     1. No unprofessional behavior: CSR was courteous and professional throughout the call.




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     2. Unprofessional behavior: CSR was unprofessional. If you choose this option, describe the
        interaction on the following screen.
            a. Examples of unprofessional behavior may include, but are not limited to:
                      i. Asking at any point if this is a test call or saying to you or someone else that this
                         is a test call.
                     ii. A rude attitude. This could include a rude tone of voice, sounding upset or
                         angry, whispering things to themselves, sighing loudly when you ask your
                         questions, etc.
                    iii. Refusal to help you in any way. This could include the CSR telling you to stop
                         calling or that they can’t or don’t want to answer your questions in a rude way.
                    iv. Mocking you, making fun of you and/or cursing at you.
            b. Please use your best judgment when it comes to unprofessional behavior. We want to
                be fair in this assessment. If the CSR is saying that they can’t help you because their
                system is down, this is different from them saying, “I’m not taking a test call today” and
                hanging up. Pay attention to what the CSR says and how they say it.
            c. When documenting unprofessional behavior, please remember that these notes are
                seen by several parties. If the CSR cursed, do not type out curse words in the notes.
                Simply state that the CSR cursed at you or used a curse word.
            d. Report instances of extreme unprofessional behavior right away by calling the Survey
                Center and speaking to a Team Lead or Production Coordinator.
                      i. You do not need to report unprofessional behavior if the CSR was polite but
                         unprofessional (e.g. saying that this was a test call). These instances can just be
                         documented in the call outcomes.
                     ii. You do need to report instances of rude behavior, yelling at you, refusals to help
                         you, insults/disrespectful comments/cursing, etc. This is considered extreme
                         unprofessional behavior.

Case do over: If you knowingly make a mistake that could negatively impact the plan’s call center,
choose this option to reset the case so the call is reattempted.



9. Terminated Calls from IVR or Hold
When a call is terminated from the IVR or HOLD Screen, the system first asks “Who terminated the
call?” Select either I terminated the call, or The call center terminated the call, whichever is appropriate.
See Exhibit 20 below.




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Exhibit 20. DISP1




Who terminated the call?

(01) I terminated the call: Select this option when you must terminate the call. This option is used for
voicemail, when the IVR tells you the call center is closed, or you cannot be transferred to a live person
(e.g. “We are experiencing technical difficulties, please try your call again later;” “Due to inclement
weather, we are unable to answer your call at this time, please try again later”). The important thing to
remember for I terminated the call is that the IVR or hold queue tells you the reason why you cannot be
transferred to a live person.

(02) The call center terminated the call: Select this option for any circumstance that does not fall into
the descriptions above. This option is used for when the call suddenly disconnects, the IVR insists on
information that we cannot give (e.g. SSN, date of birth, telephone number, etc.) and then says
“goodbye” or just disconnects, the IVR repeats options and then says “No option has been selected,
goodbye” and the call disconnects.

If the IVR keeps repeating options or you are on hold and music and/or advertisements are playing, do
not end the call. Always stay on the line until either the call disconnects or times out.

Next, you are taken to the DISP2 screen below (Exhibit 21), to select the option that best describes the
initial outcome of the call.

Exhibit 21. DISP2




What was the outcome of this call?

Code one of the following outcomes:

(01) Center Closed: A recording tells you that the center is closed.




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(02) Voicemail: You are connected to the center’s voicemail (VM) system. Also select this option if you
are sent to a VM recording that states, “mailbox full” or “not set up,” or suddenly disconnects while you
are listening to the VM message. Do not leave a message. Simply hang up the phone when it prompts
you to leave a message. Do this by clicking the Hang Up button on the left side of your computer screen;
do not hang up your physical phone.
(08) Insists on member name, SSN, etc.: Use this option if, after you decline to provide requested
information, the system tells you it will hang up (or has hung up) because you did not provide the
information.
(10) Unexpected disconnect: The line suddenly drops and the call is no longer connected. Note:
Interviewer status in the left column will say Wrap Up if the call is disconnected.
(11) Other: Use this option for any outcome that does not fall into any other category (see section 9
below).
(12) Case do over: If you knowingly make a mistake that could negatively impact the plan’s call center,
choose this option to reset the case so the call is reattempted.


ϵ.1     Coding Center Closed From IVR or HOLD
If you encounter a call center that is closed, you will navigate through the ANSWERED screen to find the
option for center closed. Pick either answered by IVR or placed directly into hold queue— whichever is
appropriate. You will then answer an outcome question, as seen in Exhibit 22 below.

Exhibit 22. IVR_CLOSED or HOLD_CLOSED




Did the message provide the center’s hours of operation?

      (01) Yes (please note hours): Choose this option when a message about hours of operation is
      given. Make sure to note the time zone if it is provided. Example note: “Center message noted
      hours are 8 a.m. to 8 p.m. Eastern.” Note: Plan call centers are required to be open from 8 am to 8
      pm in all regions they serve.
      (02) No: Choose this option when hours are not given.


ϵ.2     Coding Voicemail From IVR or HOLD
There are a variety of reasons that you may be routed to a plan’s voicemail. On the IVR/HOLD_VM
screen (Exhibit 23), note any information the voicemail provides but DO NOT leave a message.




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Exhibit 23. IVR_VM or HOLD_VM




Pick the scenario that best describes what happened.

        (01) Voicemail said center was closed: You are then taken to the IVR_CLOSED/HOLD_CLOSED
        screen in Exhibit 23 and asked if hours of operation were provided. The better option to pick
        here would be Center Closed, but this option is provided in case you advanced screens too
        quickly.
        (02) Voicemail said there were no CSRs available: Voicemail noted that no CSRs were available
        at this time or all agents were busy, etc.
        (03) Voicemail did not explain why no one answered: You were routed to voicemail but were
        not given a reason.
        (04) Voicemail said something else (please describe): Voicemail provided other information
        that you note in the provided text box.


ϵ.3     Coding Insists on More Information from IVR or HOLD
IVR and hold systems sometimes insist on more information to proceed through their system. If you
have to decline to provide information, and the system tells you it will hang up (or has hung up) because
you did not provide this information, you will select Insists on member name, SSN, etc. in the DISP2
screen (Exhibit 21). In the following screen (Exhibit 25), you are asked to specifically provide what
additional information was requested.

Exhibit 25. IVR_MOREINFO or HOLD_MOREINFO




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What information did the IVR require? Check all that apply.

      (01) Member number: IVR insisted on member’s plan number/ID number.
      (02) Member name: IVR insisted on member’s name. (Reminder: Do not provide a name because
      the system will use that name to look up a member’s account.)
      (03) Member Social Security Number: IVR insisted on member’s Social Security number.
      (04) Case Reference/Record Number: IVR insisted on a case reference or record number.
      (06) Something else (please describe): Something other than the options provided happened.
      Provide a clear and detailed note in the text box. (For example, telephone number, date of birth,
      age, etc.)

Note: For all calls, when the IVR asks you for any of this information in your language, state “I don’t have
it” in your language and type IDHI in the text box. If you have to say “I don’t have it” twice in a row for
the same piece of information, document by typing “IDHI x2”. You can use the same text box. If the IVR
asks you a third time for the same information, stay silent.


ϵ͘4     Coding Unexpected Disconnect from IVR or HOLD
Sometimes a call will suddenly disconnect. Note: Interviewer status in the left column will say Wrap Up
if the call is disconnected. Outcome questions are shown below for an unexpected disconnect from the
IVR screen (Exhibit 26) or from a HOLD screen (Exhibit 27).

Exhibit 26. IVR_DISCON




Pick the scenario that best describes what happened.

      (01) IVR did not respond to my selection and disconnected: After speaking or pressing a selection
      in the IVR, the IVR did not respond or understand your selection and the call was disconnected.




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      (02) Recording said call center is experiencing technical difficulties at this time and
      disconnected: A recording explained the call center was having technical difficulties and then the
      call was disconnected.
      (03) Immediately after making my IVR selection the call was disconnected: After speaking or
      pressing a selection in the IVR, the call was disconnected.
      (04) Call disconnected before I could make a selection in the IVR: While in the IVR, before you
      were able to make any selections, the call was disconnected.
      (05) IVR did not offer options in my language. I could not make any selections and remained
      silent, then the plan disconnected: This selection is to be used when you reach an IVR that
      doesn’t offer options in the language you are calling in. Most likely, this option will be used for
      foreign language calls or English calls to Puerto Rico.
      (06) Something else happened (please describe): Something other than the options provided
      happened. Provide a clear and detailed note in the text box.

Note: Pay attention to all recorded messages and/or options that you select while in the IVR, even for
interviewers on foreign language calls. If a call suddenly disconnects, do not use “case do over”
unless you think you made a mistake that could negatively impact the plan’s call center. For example, if
you selected an option, the IVR started asking for your provider ID number over and over, and then
suddenly disconnected. This may be because you picked the wrong option by mistake and in this case, it
may be necessary to do a case do over. If you stayed silent while in the IVR because there were no
options you could select, and then the call disconnected, the call center disconnected the call. This
would not be a mistake on your part. If you are unsure, please speak to a Team Lead or Production
Coordinator for assistance.

Exhibit 27. HOLD_DISCON




Pick the scenario that best describes what happened.

        (01) Hold was silent, then call disconnected: While in a hold that was only silent, the call
        disconnected. If you are in a silent hold queue, check on the upper left-hand corner. If the icon
        says Connected, stay on the line. If the icon says Wrap Up, then the call was disconnected.
        (02) Hold was playing music/commercials, then call disconnected: While in a hold that was
        playing music or commercials, the call disconnected.




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        (03) Hold was playing music/commercials, but then went silent. Then the call disconnected:
        You were placed on hold and initially heard music/commercials, but then the hold went silent
        and eventually disconnected.
        (04) Recording said call center is experiencing technical difficulties at this time and
        disconnected: A recording explained that the call center was having technical difficulties and
        then the call was disconnected.
        (05) Something else (please describe): Something other than the options provided happened.
        Provide a clear and detailed note in the text box.

Note: Pay attention to the hold queue music and messages. If the hold queue goes silent, or is silent the
entire time, check the upper left-hand icon to see if it says Connected or Wrap Up. Do not do a case do
over if the call suddenly disconnects unless you made a mistake.


ϵ.5     Coding Other from IVR or HOLD
Sometimes something else may happen on the call that does not fit into one of the other categories.
Note: Interviewer status in the left column will say Wrap Up if the call is disconnected. Outcome
questions are shown below for Other from the IVR screen (Exhibit 28). Note: The HOLD screen options
are almost identical.

Exhibit 28. IVR_OTHER or HOLD_OTHER




Pick the scenario that best describes what happened.

      (01) While in IVR (or on HOLD) making appropriate selections, call timed out: The call reached
      the time limit and you were taken to the timeout screen. This option is provided as a failsafe:
      however, you should have let the call automatically time out and take you to the TIMEOUT screen.
      (02) Center was closed: This option is provided as a backup; however, you should have chosen
      Center Closed at the DISP2 screen.




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      (03) I was sent to voicemail: This option is provided as a failsafe; however, you should have
      chosen Voicemail at the DISP2 screen.
      (04) IVR insisted on member number, case number, SSN, etc.: This option is provided as a
      failsafe; however, you should have chosen Insists on member name, SSN, etc. at the DISP2 screen.
      (05) Recording said call center is experiencing technical difficulties at this time: A recording
      explained the call center was having technical difficulties and then the call was disconnected.
      (06) IVR did not offer options in my language. I could not make any selections and remained
      silent, then the plan disconnected: This selection is to be used when you reach an IVR that
      doesn’t offer options in the language you are calling in. Most likely, this option will be used for
      foreign language calls or English calls to Puerto Rico.
      (07) Call disconnected: The call disconnected and none of the other options fit. This option is
      provided as a failsafe; however, you should have chosen Unexpected Disconnect at the DISP2
      screen.
      (08) Something else happened (please describe): Something other than the options provided
      happened. Provide a clear and detailed note in the text box.


10. Terminated Calls from LIVE Screen
If the CSR answers the introductory question with “anything other than yes,” as detailed in Section 5,
you will select the option Anything other than yes (No; All CSRs are busy, but I can have them call you
back; CSR hang up, Unexpected disconnect), the call will terminate, and you will be sent to the DISP2
screen (Exhibit 29). You may say, “Thank you I will try back later.” In this scenario, we do not want to
identify that this was a test call. You will then select from many options to best represent the reason you
chose the option Anything other than yes.


Exhibit 29. DISP2 Screen




What was the outcome of this call?




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      (01) Center Closed: A recording or representative tells you that the center is closed. (If a
      representative identifies themselves as the overflow or answering service line and offers to take
      your information for a call back, ask if the center is closed or why there is no one available to
      help you. This will determine the correct outcome to use.)
      (02) Voicemail: You are connected to the center’s VM system. Also select this option if you are
      sent to a VM recording that states, “mailbox full” or “not set up,” or suddenly disconnects while
      you are listening to the VM message. Do not leave a message. Simply hang up the phone when
      it prompts you to leave a message.
      (03) Call center will call back: CSR wants to take your number for a callback/offers to call you
      back at a different time. If this happens, tell them, “no thank you,” and that you will “call back at
      another time.”
      (04) CSR gives another number to call: CSR gives you a different number to call back in order to
      have your questions about benefits answered. Please record the number you are given, as you
      will be able to record it in the next screen. If a CSR offers to give you a number and does not
      offer to transfer you, then you may pleasantly end the call. If the CSR gives you another number
      and then offers to transfer you, accept the transfer and stay on the line. Reminder: We can only
      accept transfers if they are offered to us, we cannot ask the CSR to transfer us. If the new
      number you are given is the Medicare number (1-800-MEDICARE or 1-800-633-4227), do not
      accept the transfer and choose option (06) as your code instead of (04).
      (05) CSR tells to call back: CSR tells you to call back the same number. They may say that all
      agents are busy, the system is down, CSRs are in a meeting, etc.
      (06) CSR unable to answer question about Medicare: The person who answered the call cannot
      answer questions or tells you to call the Medicare number directly (1-800-MEDICARE or 1-800-
      633-4227). They may say “I am sorry, I only handle Medicare Part A/B;” or “No, you have to call
      Medicare directly;” or the CSR may insist that you tell them your specific question before they
      will answer whether or not they can answer questions, even after you tell them, “They are only
      general questions” and repeat the question.
                 x If the CSR just says “No,” and does not offer to transfer you or say anything else, you
                   may say “Thank you for your time,” end the call, and code (06) CSR unable to
                   answer question about Medicare.
                 x It is important to pay attention to the CSR’s answer here. If you repeat that you only
                   have general questions, and the CSR says, “Well, I might be able to answer these
                   questions,” or “I’ll do my best,” or “Well, yes, I am able, but I need to know the
                   specific question,” we can accept these answers as a “Yes,” click Next and read the
                   thank you script. In these instances, the CSR is stating that they are willing to try and
                   answer the questions. If the CSR says, “Again, I need to know the specific question
                   before I can answer it,” “No, I can’t answer unless I know the specific questions,” or
                   restates, “What are your specific questions?,” then end the call by saying “Thank
                   you, I’ll call back at another time”.
                 x If the CSR offers to transfer you to 1-800-MEDICARE (1-800-633-4227), you will
                   decline the transfer. This is the only scenario where you will decline the transfer.




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                   You may say “No thank you, I will call the number myself” or something similar and
                   then end the call with the CSR.
                 x If the CSR transfers you to 1-800-MEDICARE (1-800-633-4227) without your
                   knowledge or consent, once you realize that you have been transferred there, end
                   the call by clicking on the Hangup button and coding Anything other than yes,
                   followed by (06) CSR unable to answer question about Medicare.
      (07) CSR hung up: CSR hangs up the phone, and it is clear the line did not simply disconnect. You
      may hear an audible click or another sound that indicates the CSR hung up. Or, the CSR clearly
      states “I’m hanging up,” or says something unprofessional such as, “I can’t deal with these test
      calls,” and then hangs up or the call disconnects.
                 x If the CSR says that they cannot hear you and they are going to disconnect the call
                   or hang up due to no response, this may be an issue with the phone/auto dialer or
                   your phone may be on mute. Make sure to check your equipment before continuing
                   the case. If this same issue persists on your next call, contact a Team Lead or
                   Production Coordinator to help you troubleshoot.
      (08) Insists on member name, SSN, etc.: CSR insists on having this information before
      proceeding even after you prompted “Before I provide this information, can you tell me if you
      can answer my questions about Medicare?” You can also say “I just have general questions.” If
      the CSR keeps insisting, you may end the call by saying “I will just call back,” or “I will call back
      with that information,” and select the code (08) Insists on member name, SSN, etc. This is for
      any information that we cannot provide, including a member ID or plan number, SSN, date of
      birth, age, telephone number, Medicaid or Medicare ID, etc.
                 x If a CSR asks for your name, please give your real first name.
                 x If a CSR asks for your last name, you may say, “I would prefer to not give that out, I
                   just have general questions.” We should not be required to provide this information
                   to ask questions about the plan.
                 x If a CSR asks for your mother’s first or last name, you are allowed to provide the
                   fake first name of “Mary”. You should not give out a real or fake last name for your
                   mother.
                 x Every case has a ZIP code, county, state, and the name of a plan. This information
                   may be provided if the CSR asks. Please see a Team Lead or Production Coordinator
                   if there are any issues with the ZIP code or county and state (i.e., the CSR tells you
                   that the ZIP code is not valid, the state is Tennessee, but the CSR says that this plan
                   only covers North Carolina, etc.) and make sure to provide the case ID number.
      (09) CSR refused: CSR refuses to proceed with the call. A refusal is when the CSR could help us
      but is not willing. A CSR simply saying “No,” or saying that we have reached the wrong
      department but does not offer to transfer us is not considered a refusal. Example of a refusal: “I
      could, but I’m not going to answer your questions,” “I’m not going to answer your questions
      because I know that this call is fake/a test call.” This situation is rare but could happen. If the
      CSR refuses, this is automatically considered unprofessional behavior. Please choose




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        Unprofessional behavior in the THANK screen and leave a detailed note describing what
        happened and what the CSR said.
        (10) Unexpected disconnect: The line suddenly drops while the CSR is speaking or attempting to
        transfer the call. This also applies when the CSR puts you on hold for any reason and then the
        line suddenly disconnects. Note: Call Status in the left column will say Wrap Up if the call is
        disconnected.
                   x We have to give the CSR the benefit of the doubt. If they put us on hold or the call
                     drops while the CSR is speaking, then we should code (10) Unexpected disconnect.
                     We should only code (07) CSR hung up for specific reasons.
                   x Do not do a case do over if there is an unexpected disconnect unless you make a
                     mistake that could negatively impact the plan’s call center. Remember, always pay
                     attention to what is happening on the call.
        (11) Other: For anything that happens that does not fall into any of the given options. You will
        be taken to LIVE_OTHER screen to provide more details about what occurred.
        (12) Case do over: If you knowingly make a mistake that could negatively impact the plan’s call
        center, choose this option to reset the case so the call is reattempted.
        (13) No Interpreter Available: Only available for foreign language calls. Use in cases where you
        are told that an interpreter isn’t available for you.

After marking an option in the DISP2 screen, answering the questions about unprofessional behavior on
the THANK screen, and moving through the CDO HANGUP screen, you will be asked a series of questions
about the outcome of the call, depending on the option you chose in the DISP2 screen.


ϭϬ.1      Coding Center Closed from LIVE Screen
If you are informed by a live person that the call center is closed, you will choose from the options
offered in Exhibit 30 to provide further detail about what happened.

Exhibit 30. LIVE_CLOSED Screen




How were you informed the center was closed?

       (01) Person who answered said the center was closed: Sometimes a live person will answer even
       after regular business hours in order to help route after-hours calls.




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       (02) After speaking with a live person who could not answer my question, I was transferred to a
       recording that said the center was closed: Recording stated the center was closed after you were
       transferred.
       (03) Something else (please specify): Something other than the options provided happened.
       Provide a clear and detailed note in the text box.


ϭϬ.2      Coding Voicemail from LIVE Screen
After speaking to a live person, you may be transferred to a voicemail system, either because the center
you are trying to reach is closed, all CSRs are busy, or for reasons that are not made clear by the person
with whom you spoke. You will code those reasons in the LIVE_VM Screen shown below (Exhibit 31).

Exhibit 31. LIVE_VM Screen




Pick the scenario that best describes what happened.

       (01) After speaking with a live person who could not answer my question, I was transferred to
       voicemail: CSR said they could not answer questions and offered to transfer you. Instead of
       reaching another CSR, you reached voicemail.
       (02) Person who answered said the center was closed and offered to transfer me to voicemail:
       This scenario should be coded as Center Closed at DISP2 screen; see section 7.1 for more
       information. However, this option is available if you moved the screens ahead too quickly.
       (03) Person who answered said no CSRs were available and offered to transfer me to voicemail:
       Sometimes a live person will answer and inform you that there are no CSRs available, usually
       because of high call volume.
       (04) Something else happened (please describe): Something other than the options provided
       happened. Provide a clear and detailed note in the text box.


ϭϬ.3      Coding Call Center Will Call Back from LIVE Screen
There are a variety of reasons that a call center will offer to call you back. If the CSR or agent on the
phone does not give you a reason, such as high call volume, probe by asking the CSR, “Is the center
closed at this time?” The CSR will give you an explanation that will help you choose the best option.




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Reminder: Never provide a phone number for the call center to call you back; instead, tell them you will
call back. The outcome options below (Exhibit 32) offer potential scenarios to pick from. Some scenarios
note that a different option should have been chosen in a previous screen.

Exhibit 32. LIVE_CCB Screen




Pick the scenario that best describes what happened.

       (01) Person said center was closed and offered for someone to call me back: This scenario should
       be coded as Center Closed at DISP2 screen. However, this option is available if you moved the
       screens ahead too quickly.
       (02) Person said all CSRs were busy right now and offered for someone to call me back:
       Sometimes a live person will answer and inform you that there are no CSRs available, usually
       because of high call volume.
       (03) I was transferred to a recording, which offered for someone to call me back: When this
       happens DO NOT leave a number for the call center to call you back, simply end the call.
       (04) CSR could not answer my question and offered for someone to call me back: While the
       person could not answer the question, they did offer for a person to call you back, so noting that
       the call center offered to call back is the correct option.
       (05) Something else happened (please describe): Something other than the options provided
       happened. Provide a clear and detailed note in the text box.


ϭϬ.4      Coding CSR Gives Another Number to Call from LIVE Screen
There are a variety of reasons that a call center might give you another number to call. Reminder: You
should never call the number, but you should provide this number and any other information given in
the text box provided in the final call note screen. If the person offers to transfer you to the other
number, you must say “yes” to the transfer; however, you should never request to be transferred. The
outcome options below (Exhibit 33) offer potential scenarios to pick from.




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Exhibit 33. LIVE_CCNEWNO Screen




Pick the scenario that best describes what happened.

       (01) CSR unable to answer my question but did not offer to transfer me: Note if CSR provides a
       reason they cannot answer your question. This option is provided as a failsafe; however, it is
       better to choose options 03 through 06 so that you can provide more detailed information.
       (02) Person said center was closed and offered another number to call: Note the number and any
       other information provided in the screen that follows. This should have been coded as Center
       Closed at DISP2. However, this option is available if you moved the screens ahead too quickly.
       (03) Person said all CSRs were busy right now and offered another number to call: Note the
       number and any other information provided in the screen that follows.
       (04) I was transferred to a recording, which offered another number to call: If the message gives
       more detail about why you should call another number, choose (06) Something else happened
       instead of choosing this option and note what the message said.
       (05) CSR could not answer my question and offered another number to call: While the person
       could not answer the question, they did offer for a person to call you back so noting that the call
       center offered to call back is the correct option.
       (06) Something else happened (please describe): Something other than the options provided
       happened. Provide a clear and detailed note in the text box.


ϭϬ.5      Coding CSR Tells to Call Back from LIVE Screen
There are a variety of reasons that a call center might tell you to call you back. Reminder: Never call
back, simply end the case and code the outcome accordingly. The outcome options below (Exhibit 34)
offer potential scenarios to pick from. Some scenarios note that a different option should have been
chosen in a previous screen.




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Exhibit 34. LIVE_ICB Screen




Pick the scenario that best describes what happened.

       (01) Person said center was closed so I should call back: This scenario should be coded as Center
       Closed at DISP2. However, this option is available if you moved the screens ahead too quickly.
       (02) Person said all CSRs were busy right now so I should call back: Sometimes a live person will
       answer and inform you that there are no CSRs available, usually because of high call volume.
       (03) I was transferred to a recording, which said to call back at another time: If the message
       gives more detail about why to call back, choose (05) Something else happened and note what
       the message said.
       (04) CSR could not answer my question and could not find someone that could, so I should call
       back: While the person could not answer the question, they did offer for a person to call you back,
       so noting that the call center offered to call back is the correct option.
       (05) Something else happened (please describe): Something other than the options provided
       happened. Provide a clear and detailed note in the text box.


ϭϬ.6      Coding CSR Unable to Answer Question… from LIVE Screen
You should only code CSR Unable to answer Questions about Medicare when the CSR gives an answer of
“No,” “I’m not sure,” or is otherwise unable to provide an answer to your question. Exhibit 35 offers
these options, and notes when a different option should have been chosen in a previous screen.
Exhibit 35. LIVE_NO Screen




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Pick the scenario that best describes what happened.

     (01) CSR said they cannot answer questions but offered to transfer me to someone that could: You
     must accept the transfer and then ask the question provided to the next person with whom you
     speak until you get an answer. Technically, you should then code the final answer you get on the
     LIVE screen, but this option is here in case you moved the screens ahead too quickly.
         Note: This question will be followed by two more questions:
             x Did you accept the transfer?: You should always accept the transfer, but if you did not,
                  you should indicate “No” here.
             x Did the person you were transferred to answer the question?: Record the answer the
                  person gives.
     (03) CSR insisted on member name, SSN, etc.: This scenario should be coded as CSR insisted on
     member name, SSN, etc. at DISP2 screen. However, this option is available if you moved the screens
     ahead too quickly.
     (04) CSR could not answer my question and did not offer to transfer me: If the CSR says they
     cannot answer your question and offers to transfer you, you must accept the transfer. However, if
     they do not offer to transfer you and do not offer an answer of “yes” to your question, use this
     outcome option.
     (05) Something else happened (please describe): Something other than the options provided
     happened. Provide a clear and detailed note in the text box.


ϭϬ.7      Coding CSR Hung Up from LIVE Screen
If the call is disconnected and it is clear that this was done intentionally, meaning that you either hear
the CSR say they are hanging up or you hear something such as an audible click, you should code CSR
hung up from the LIVE Screen. Exhibit 36 offers these options and notes when a different option should
have been chosen in a previous screen.
Exhibit 36. LIVE_CHU Screen




Pick the scenario that best describes what happened.

       (01) I heard someone pick up the phone and before I could ask my question the CSR hung up:
       You heard a CSR pick up and heard background noise, rustling, or an introduction, but then the
       CSR hung up.



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       (02) I asked my question and the CSR hung up: You asked your introduction question and then
       clearly heard the CSR hang up the line.
       (03) CSR indicated they could not hear me and eventually said they were going to hang up: CSR
       indicated they could not hear you, but you were speaking.
       Note: This may indicate an issue with your headset. Please take the following steps to
       troubleshoot the issue:


                  TROUBLESHOOTING WHEN CSR CANNOT HEAR YOU:
              x   Check that neither your phone nor your headset is on mute.
              x   Check that your headset is fully plugged in.
              x   If this does not resolve the issue, continue to say “hello, can you hear me” until the CSR
                  can hear you or they end the call.
              x   Never end the call first unless the issue is on your end and you need to do a case do over.
              x   If neither of these resolves the issues, we will assume the problem is on the plan’s calling
                  center’s end.
              x   If this occurs for two or more calls in a row, end the call but do not close the case. Notify a
                  Team Lead or Production Coordinator to troubleshoot the issue. DO NOT continue to
                  make calls until you contact a Team Lead or Production Coordinator



       (04) Something else happened (please describe): Something other than the options provided
       happened. Provide a clear and detailed note in the text box.


ϭϬ.8      Coding CSR Insists on More Information from LIVE Screen
When you reach a CSR, they may ask you for additional information. You should repeat your question or
say: “Before I provide you that information, can you tell me… [then repeat the question].” If the CSR still
insists that you provide additional information before they will answer your question, you mark what
they insisted on in the LIVE_MOREINF screen (Exhibit 37).

Exhibit 37. LIVE_MOREINF Screen




What information did the CSR require? Check all that apply.




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       (01) Member number: CSR insisted on member’s plan number.
       (02) Member name: CSR insisted on member’s name. Reminder: You will not provide a name
       when asked for a member name because the CSR will use that name to look up a member’s
       account. To try to bypass this question, you may give a first name only and then repeat your
       question.
       (03) Member Social Security Number: CSR insists on member’s Social Security number.
       (04) Case Reference/Record Number: CSR insists on a case reference or record number.
       (06) Something else (please describe): Something other than the options provided happened.
       Provide a clear and detailed note in the text box.


ϭϬ.9      Coding CSR Refused from LIVE Screen
If the CSR refuses to answer the question, code the reason on the LIVE_REFUSE screen (Exhibit 38).
Please note: the difference between a CSR who is unable to answer the question and a CSR refusing is
that the CSR could help us, but they are not going to for any reason. If a CSR simply says no, this should
be coded as “CSR unable to answer question about Medicare”. Examples of a CSR refusal: “I know this is
a test call and I’m not answering your questions”, “I could, but I’m not going to”, etc. This is rare but it
could happen. If a CSR refuses, this is automatically considered unprofessional behavior and should be
documented.


Exhibit 38. LIVE REFUSE Screen




Pick the scenario that best describes what happened.

       (01) CSR refused to answer my question and did not give a reason why: Use this option if the CSR
       simply refused to answer the question without giving a reason.
       (02) CSR said they cannot answer questions, but offered to transfer me to someone that could:
       You should code the final answer you got from a CSR on the LIVE screen, but this option is here in
       case you moved the screens ahead too quickly.
         Note: This question will be followed by two more questions:
             x Did you accept the transfer?: You must accept the transfer.




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             x    Did the person you were transferred to answer the question?: Record the answer the
                  person gives.
         (04) CSR insisted on member name, SSN, etc.: This should be coded as CSR insisted on member
         name, SSN, etc. in the DISP2 screen, but this option is here in case you moved the screens ahead
         too quickly.
         (05) CSR could not answer my question and did not offer to transfer me: If the CSR says they
         cannot answer your question and offers to transfer you, you must accept the transfer. However,
         if they do not offer to transfer you and do not offer an answer of “yes” to your question, use this
         outcome option. This option is provided as a failsafe; however, it would be better to select
         options 01 or 06 to provide more information.
         (06) Something else happened (please describe): Something other than the options provided
         happened. Provide a clear and detailed note in the text box.


ϭϬ.10 Coding Unexpected Disconnect from LIVE
Sometimes a call will suddenly drop and the call will no longer be connected. Note: Call status in the left
column will say Wrap Up if the call is disconnected and a pop-up message will appear, saying “The called
person hung up.” If you cannot determine that the CSR ended the call on purpose, code Unexpected
Disconnect. Outcome questions are shown below (Exhibit 39) for an unexpected disconnect from a live
CSR.
Exhibit 39. LIVE_DISCON




Pick the scenario that best describes what happened.

        (01) CSR answered, then the line disconnected: You heard the CSR answer but then the line
        disconnected.
        (02) Line picked up but no one answered, then line disconnected: You heard the line pick up and
        then it disconnected.
        (03) When asking my question, the line suddenly disconnected: You started asking the question
        but the line was disconnected.
        (04) Something else(please describe): Something other than the options provided happened.
        Provide a clear and detailed note in the text box.
     5.         For foreign language calls: Sometimes, the CSR may put you on hold to get an interpreter
     and disconnect from the call. If an interpreter comes on the line, you can say “No English” and say




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     your language or start speaking your language. The interpreter will start speaking to you in your
     language. They will usually say to you in your language, “Please hold, I need to see if there’s an
     agent on the line.” The interpreter will ask in English up to three times, “This is the interpreter
     speaking, is there an agent on the line?” or something similar. If there is no response, then the
     interpreter will start speaking to you in your language. We must code what the interpreter tells us. If
     they state that there is no one on the line or that there may have been an accidental disconnect,
     then code “Anything other than yes” and “Unexpected disconnect”. If the interpreter tells you that
     the CSR hung up, then you will code “CSR hung up” and leave a detailed note explaining what
     happened. Make sure to specify in your note what the interpreter told you in your language.
     x Ex.: “CSR put me on hold to get an interpreter. When the line picked up, the interpreter was on
         the line but the CSR was no longer there. The interpreter said three times in English, “Is there an
         agent on the line?” There was no response. The interpreter told me in Spanish that the CSR had
         disconnected by accident and I should call back.”
     6.         For TTY calls: If the CSR disconnects from the call, the TTY operator may say “Person hung
     up”. If the TTY operator says this, you should probe and ask, “Operator, did the call disconnect or did
     the representative hang up?” The TTY operator will then type that either the line disconnected or
     the person hung up. You should take the answer that the TTY operator gives you and code “Anything
     other than yes” and either “Unexpected Disconnect” or “CSR hung up”.
     x If the TTY operator simply states, “Line disconnected” or “Call disconnected”, then no
         clarification is needed. You can code “Anything other than yes” and “Unexpected disconnect”.



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Sometimes a call outcome will not fit into any of the situations listed in the DISP2 screen. Outcome
questions are shown below (Exhibit 40) for an outcome that does not fit any of the preceding
categories.

Exhibit 40. LIVE_OTHER




Pick the scenario that best describes what happened.



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     (01) Call timed out before I could get an answer to my question: The call timed out and you were
     taken to the timeout screen. This option is provided as a failsafe; however, you should have let the
     call time out automatically and let the system take you to the TIMEOUT screen.
     (02) Center was closed: CSR informed you that the call center was closed. This should be coded as
     Center Closed in the DISP2 screen, but this option is available if you moved the screens ahead too
     quickly.
     (03) I was sent to voicemail: CSR sent you to voicemail. This should be coded as Voicemail in the
     DISP2 screen, but this option is available if you moved the screens ahead too quickly.
     (04) CSR insisted on member number, case number, SSN, etc.: This call should be coded as CSR
     insisted on member name, SSN, etc. in the DISP2 screen, but this option is available if you moved
     the screens ahead too quickly.
     (05) Person said call center is experiencing technical difficulties at this time: A recording or the
     CSR explained they could not complete the call because of technical difficulties.
     (06) Call disconnected: Call disconnected, and it is unclear why. This call should be coded as
     Unexpected Disconnect in the DISP2 screen, but this option is available if you advanced screens
     ahead too quickly.
     (07) Line picked up and I could hear people talking in the background. I said hello several times,
     but no one ever answered me: You were able to hear people in the background but no one
     answered the call. This option is provided as a failsafe; however, if you hear people talking in the
     background, you should wait on the line until a CSR addresses you directly, the call times out, or
     something else occurs, such as a voicemail, unexpected disconnect, etc.
     (08) Something else happened (please describe): Something other than the options provided
     happened. Provide a clear and detailed note in the text box.


11. No Interpreter from LIVE Screen
For all LEP calls, there is an option to code No interpreter Available when the CSR has to end the call
because they cannot find an interpreter. Outcome options are presented in Exhibit 40 below to describe
what happened.

Exhibit 40. LIVE NOLEP Screen




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Pick the scenario that best describes what happened.

     (01) CSR said there was not an interpreter available in my language: The CSR was unable to find an
     interpreter that spoke my language.
     (02) While waiting for CSR to connect to an interpreter, the call timed out: While the CSR was
     attempting to find an interpreter in my language, the call timed out. This option is provided as a
     failsafe; however, you should have let the call time out automatically and let the system take you to
     the TIMEOUT screen.
     (03) CSR brought me an interpreter who spoke a different language and was unable to provide the
     correct interpreter in time: The CSR brought someone who spoke a different language than mine
     and was unable to provide an interpreter that spoke my language. This option is provided as a
     failsafe; however, you should have let the call time out automatically and let the system take you to
     the TIMEOUT screen.
     (04) Something else happened (please describe): Something other than the options provided
     happened. Provide a clear and detailed note in the text box.
     x Other situations:
              o The CSR or live person tells you any information in English. If the CSR tries to
                  communicate with you in English (e.g. “The center is closed, you have to call back”, “I
                  don’t speak that language, you have to call back”, “You have called the Medicaid
                  department, no one here speaks (your language), you have to call this number I’m going
                  to give you”.) If the CSR says “No Spanish/French/Tagalog, etc.” then you want to probe
                  and repeat, “No Spanish? No French?” If the CSR repeats “No Spanish/No French”, etc.
                  then you can end the call in your language and click “Anything other than yes” and “No
                  interpreter available”.
              o Another situation that may happen is the CSR transfers you to the language line
                  operator but then disconnects from the call. If you reach an operator and the CSR is no
                  longer on the line, stay on the line and ask for your language. Again, we want to stay on
                  the line for any live person. If the operator says anything to you in English (e.g. “No
                  Spanish, you have to call the plan back” or “I don’t speak that language, this is the
                  operator for the language line, you need to call the plan back”), probe once and say, “No
                  (your language)?” If the operator says, “No Vietnamese/Mandarin/Cantonese” etc.
                  again, then you can end the call in your language.
              o In your call note, make sure to specify what the CSR or live person said and add that
                  they spoke to you in English without an interpreter.


12. Special Needs Plans (SNP) Instructions
Some calls will reference Special Needs Plans – a type of Medicare Advantage Plan (like an HMO or PPO)
with membership limited to people with special diseases (diabetes, coronary heart disease, renal failure)
or characteristics. You will know you have called an SNP because it will show up in the plan’s name. See
example circled in red below (Exhibit 41).




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When calling these plans, once you reach a live CSR you will only need to ask the question “Are you the
right person to answer questions about [Plan Name’s] health benefits/prescription drug benefits?” and
then record the CSR’s response. Note the instructions in blue, which we’ve highlighted in the red box on
the screen below: “This is a Special Needs Plan (SNP) case and only receives this question. If the CSR
answers Yes, you will go to the THANK screen and not ask any other questions.”

Exhibit 41. SNP Case




Once you’ve recorded the CSR’s answer you will be taken to the THANK screen, shown below (Exhibit 42).
For SNP calls only, you will then read the script highlighted in the red box below verbatim, “Thank you for
your time. This has been a test call on behalf of the Centers for Medicare and Medicaid services,” and
then you will end the call. For foreign language calls: please read this script in English. Do not translate
the script into your language.

Exhibit 42. SNP Case




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13. Correcting a CSR’s Response
Occasionally, a CSR will change their answer to one of the accuracy questions after you’ve already
moved on to another screen. NOTE: This could be changing the answer to the correct answer or
incorrect answer. In order to update the answer, you will need to take the following steps:
    1. Press the ESC button
            x The Navigate pane at the top of the page will change from grey to bold (as shown
                 below), which means it is open




     2. Use the pull down menu (highlighted in blue) to navigate back to the question page where the
         CSR would like to change their answer (for example, A1).
     3. Press the GO button.
            x This will take you backwards to the answer you plan to correct.
     4. To correct the answer, press the ESC button to open the question page (and close the Navigate
         pane).
     5. Change the answer.
     6. Press the ESC button to open the Navigation pane.
     7. Use the pull down menu to select the question page you left off at (for example, A2).
     8. Press the GO button.
     9. Press the ESC button one last time so the Navigate pane closes.
     10. Then continue forward as usual.

NOTE: This function can only be used to correct a CSR’s answer in screens A1, A2, and A3. It cannot be
used to go backwards at any other time as doing so will affect the page timers and will cause the case to
be unusable for the purposes of this study. If you go backwards by accident, then this is a mistake on
your part and you should do a case do-over. Please keep track of the questions that you’re on during the
survey.
    x DO NOT go backwards if you have to be transferred while on an accuracy question. You do not
        have to start a survey over just because a CSR has to transfer you mid-survey. Example: a CSR
        says yes, he or she is the right person to answer questions. After you ask the first accuracy
        question, the CSR says they cannot answer and have to transfer you to the correct department.
        Stay on the first accuracy question screen and when the new CSR comes on the line, state your
        question again and read it verbatim.
    x DO NOT go backwards from the LIVE screen to the hold queue or the IVR screens, ever. Once
        you are on the LIVE screen, stay there. If you do go backwards from the LIVE screen to the hold
        queue or IVR screen, do a case do over.




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14. Ending a Call

For all calls during which you speak with a live CSR, you will be taken to the THANK Screen (Exhibit 43)
and asked to code whether there was any unprofessional behavior. NOTE: Be aware that at this point,
the call will still be connected to the plan unless the CSR hangs up. The instructions will prompt you to
“Pleasantly end the call in (the language you called in).” You should stay on the line until the CSR ends
the call. If you need to end the call with the CSR because of unprofessional behavior, you can use the
Hang up button on the left-hand side of the screen to hang up the call. A pop-up box will appear asking
you to confirm that you want to hang up. Click OK to hang up the call.

If the CSR asks you “Were you satisfied with my services today?” you should not respond to their
question as this is providing feedback on their work (similar to a survey). Instead, simply end the call by
saying “thank you, have a nice day” and use the hang-up button to end the call, if needed.

For foreign language calls: you can end the call once the interpreter has interpreted the CSR’s ending of
the call to you. Do not hang up the call until the interpreter has finished interpreting the CSR’s ending
of the call.

For TTY calls: you will end the call with both the CSR and the TTY operator.
Exhibit 43. THANK Screen




You then mark one of the following:
   3. No unprofessional behavior: CSR was courteous and professional throughout the call.
   4. Unprofessional behavior: CSR was unprofessional, for example, they asked if this was a test call
       or were rude in some way. If you choose this option, you will be asked to describe the
       interaction on the following screen.
           a. Examples of unprofessional behavior may include, but are not limited to:
                     i. Asking at any point if this is a test call or saying to you, the interpreter (if on a
                        foreign language call), or someone else that this is a test call.
                    ii. A rude attitude towards you. This could include a rude tone of voice, sounding
                        upset or angry, whispering things to themselves, sighing loudly when you ask
                        your questions, etc.




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                    iii. Refusal to help you in any way. This could include the CSR telling you to stop
                          calling or that they don’t speak your language in a rude way.
                    iv. Mocking you or making fun of you.
                     v. Being rude to interpreters or TTY operators. It doesn’t have to be towards you!
                          If the CSR is rude to anyone else assisting the call, such as an interpreter or TTY
                          operator, then you should report that as well.
            b. People who assist the call, such as interpreters or TTY operators, may exhibit rude
                behavior as well. This may include, but is not limited to:
                      i. Asking you if this is a test call or saying to the CSR that this is a test call.
                     ii. Refusing to help you in any way.
                    iii. For interpreters: speaking to the CSR in English and not translating what they
                          are saying to you in your language. Or, making complaints about you, your
                          fluency in your language, etc.
                    iv. For TTY operators: interrupting you while you are trying to type, not fulfilling
                          your requests (you ask them to hold for a live person and they start typing the
                          recording), etc.
            c. Please use your best judgment when it comes to unprofessional behavior. We want to
                be fair. If the CSR is saying that they can’t help you because their system is down or they
                can’t get through to the language line, this is different from them saying, “I’m not taking
                a test call today” and hanging up. Pay attention to what the CSR says and how they say
                it.
            d. Report instances of unprofessional behavior right away by calling the survey center and
                speaking to a Team Lead or manager.
                      i. You do not need to report unprofessional behavior if the CSR/interpreter/TTY
                          operator was polite but unprofessional (e.g. saying that this was a test call).
                          These instances can just be documented in the call outcomes.
                     ii. Do report instances of rude behavior, yelling at you, refusals to help you,
                          insults/disrespectful comments/cursing, etc. Remember, this can be from a CSR,
                          interpreter, or TTY operator.
     5. Case do-over: If you have knowingly made a mistake that could negatively impact the call
        center, choose this option so that the call can be reset and attempted again.

If this was a LEP call, you’ll be asked if there were any problems with interpretation (Exhibit 44). If there
were, please mark yes and describe them in the textbox provided.
     1. Problems with interpretation may include, but are not limited to:
              a. The interpreter misinterpreted a word, several words, or an entire question and this
                  caused confusion or caused the CSR to give an incorrect answer.
              b. The interpreter was not comprehensible in either English or your language.
              c. The Interpreter disconnected from the call, with or without warning.
              d. The interpreter misinterpreted the CSR’s response. For example, the CSR said “Yes” but
                  the interpreter said “No”.
              e. The interpreter leaves out important parts of the question or the CSR’s response.
              f. The interpreter is unprofessional in any way. You should also make a note of this under
                  Unprofessional Behavior.




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     2. When reporting problems with interpretation, we want to be fair. Interpreters may not get
        every word exactly right but overall, if the question in English is close enough to the question in
        your language, then this is a successful interpretation. To make sure they are interpreting
        correctly, interpreters may ask you to repeat a part or all of your question, ask for clarification
        about a word or expression you are using, and/or look up words. This is not unprofessional
        behavior because interpreters are trying to ensure their interpretation is as accurate as possible.
        Interpreters may also make mistakes, but if they are able to correct themselves while you are on
        the call, then this will not count against them. However, if an interpreter makes a mistake and
        doesn’t correct it, then this should be reported.
     3. Please make sure you are reporting any issues with interpretation. This is important data for the
        client to share with plans. Do not skip over this step.

Exhibit 44. INTERPRET Screen




Next, you’ll be asked if you had to go back to correct any responses provided by the CSR. If you did, you
can mark yes in the screen below (Exhibit 45).

Exhibit 45. CORRECTION Screen




Finally, you’ll reach the REG HANGUP Screen (Exhibit 46). Once you’ve reached this screen, if you are
still connected to the plan the call will be ended.

Exhibit 46. REG HANGUP Screen




15. Final Outcome Question for All Calls

After coding the initial outcome of your call, you will be asked 1-4 follow-up questions to better
describe what happened during the call. You will be taken to the PHONE_ISSUES screen
(Exhibit) to provide any final feedback on the call. You only need to check boxes if you did not



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already report the relevant information on previous screens. If you have nothing additional to
report, select “I did not experience any issues”.
Exhibit 47. PHONE_ISSUES Screen




Did you experience any other issues that you have not described in previous screens? Check all
that apply.
     x  Static on the line (01): You heard a noticeable and disruptive amount of static on the call.
     x  Silence during hold queue (02): While on hold, there was a long period of time (15 seconds or
        longer) where no music, advertisements, or talking could be heard and there was only silence on
        the line but you were still connected to the call.
     x IVR did not respond to my selection (03): While in the IVR, you spoke or keyed in a selection 2x
        or more and the IVR responded as if you had not made a selection.
     x Hand dialed second attempt (06): After initiating one attempt of the call, you were unable to
        connect to the plan and instead heard no ring, and the call never showed as connected. On the
        second attempt of the call, you must ask a Team Lead or manager to hand-dial the number to
        see if it is working.
     x Call timed out before I could get an answer to my question (07): The call timed out and you
        were taken to the TIMEOUT screen (see exhibit 34).
     x There were problems with my interpreter (08): Used for foreign language calls when you
        encountered any issues with the interpreter or connecting with an interpreter.
     x I want to note an additional issue (please describe) (11): Here you will note any other issues
        you encountered or use this space to provide more details about one of the options marked
        above. This option can also be used to describe a scenario in which you prematurely selected
        “Anything other than yes” at the LIVE screen, but then the CSR clarifies that she or he may be
        able to answer your question. In this instance, you can record this update in this field and the
        case will be reviewed to determine if it should be considered successful.
I did not experience any issues (12): Mark this if you do not have any issues to share not already noted
elsewhere.
Once you’ve coded any final issues, you will be taken to the EXITCASE Screen shown below
(Exhibit). Once you press “Next” at the bottom of screen you will exit the case and be taken out
of the case.




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